              Case 23-11240-TMH   Doc 18-1   Filed 08/29/23   Page 1 of 7




                                   EXHIBIT A

                              Proposed Interim Order




DOCS_DE:244438.4 70786/001
               Case 23-11240-TMH              Doc 18-1       Filed 08/29/23        Page 2 of 7




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                          )
In re:                                                    ) Chapter 11
                                                          )
AMERIFIRST FINANCIAL, INC., et al.,1                      ) Case No. 23-11240 (TMH)
                                                          )
                                  Debtors.                ) (Joint Administration Requested)
                                                          )


              INTERIM ORDER (I) AUTHORIZING, BUT NOT
           DIRECTING, THE DEBTORS TO (A) PAY PREPETITION
         EMPLOYEE WAGES, SALARIES, OTHER COMPENSATION,
       AND REIMBURSABLE EMPLOYEE EXPENSES AND (B) CONTINUE
    EMPLOYEE BENEFITS PROGRAMS AND (II) GRANTING RELATED RELIEF


         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an interim order (this “Interim Order”): (a) authorizing,

but not directing, the Debtors to (i) pay certain prepetition employee wages, salaries, other

compensation, reimbursable employee expenses, and (ii) continue employee benefits programs in

the ordinary course, including payment of certain prepetition obligations related thereto;

(b) scheduling a final hearing to consider approval of the Motion on a final basis, and (c) granting

related relief, all as more fully set forth in the Motion; and upon the Avila Declaration; and this

Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and this Court having found that this is a core proceeding pursuant to 28



1   The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
    LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road, Suite
    117, Mesa, AZ 85203.
2   Capitalized terms used in this Interim Order but not immediately defined have the meanings given to such terms
    in the Motion.



DOCS_DE:244438.4 70786/001
              Case 23-11240-TMH           Doc 18-1      Filed 08/29/23      Page 3 of 7




U.S.C. § 157(b)(2); and this Court having found that venue of this proceeding and the Motion in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other

notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

and this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

        1.      The Motion is granted on an interim basis as set forth herein.

        2.      The final hearing (the “Final Hearing”) on the Motion shall be held on _________,

2023, at__:__ _.m., prevailing Eastern Time. Any objections or responses to entry of a final order

on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on _________, 2023.

In the event no objections to entry of the Final Order on the Motion are timely received, this Court

may enter such Final Order without need for the Final Hearing.

        3.      The Debtors are authorized, but not directed, in their sole discretion, to:

(a) continue, modify, change, and discontinue the Employee Compensation and Benefits in the

ordinary course of business during these chapter 11 cases and without the need for further Court

approval, subject to applicable law, and (b) pay and honor prepetition amounts outstanding under

or related to the Employee Compensation and Benefits Programs in the ordinary course of

business, up to the amounts set forth in paragraph 4 of this Interim Order; provided that pending


                                                   2

DOCS_DE:244438.4 70786/001
              Case 23-11240-TMH              Doc 18-1    Filed 08/29/23     Page 4 of 7




entry of the Final Order, the Debtors shall not honor any Employee Compensation and Benefits

obligations that exceed the priority amounts set forth in sections 507(a)(4) or 507(a)(5) of the

Bankruptcy Code; provided, further that if the Debtors take any action authorized by this paragraph

3 that is not in accordance with practices and procedures that were in effect before the

commencement of these chapter 11 cases, the Debtors shall not take any such action without prior

written consent of the DIP Lender. Nothing herein shall be deemed to authorize the payment of

any amounts which violate, implicate, or otherwise are subject to 503(c) of the Bankruptcy Code.

The Debtors will seek approval of any insider bonus or incentive programs, if any, under separate

motion under section 503(c) of the Bankruptcy Code.

       4.      Nothing herein shall be deemed to authorize the payment of any amounts in excess

of the amounts budgeted in the Interim Order (I) Authorizing Debtors (A) to Obtain Postpetition

Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition

Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting

Related Relief (the “Interim DIP Order”).

       5.      Notwithstanding anything to the contrary herein, pending entry of the Final Order,

the Debtors are authorized, but not directed, in their sole discretion, to pay, remit, or reimburse, as

applicable, not more than an aggregate amount of $1,130,000 for the following obligations to the

extent authorized by the Interim DIP Order:

                                Employee Obligation                       Interim Amount
                   Unpaid Compensation Obligations                          $500,000
                   Withholding Obligations                                  $205,000
                   Payroll Processing Fees                                   $55,000
                   Reimbursable Expenses and Credit Care Obligations        $140,000
              Employee Compensation                                        $900,000.00
                   Health Benefit Plans                                     $115,000

                                                     3

DOCS_DE:244438.4 70786/001
              Case 23-11240-TMH              Doc 18-1     Filed 08/29/23     Page 5 of 7




                                    Employee Obligation                    Interim Amount
                      401(k) Plan                                             $15,000
              Employee Benefits Programs                                     $130,000
              Total                                                         $1,130,000


       6.      Pursuant to section 362(d) of the Bankruptcy Code, Employees are authorized to

proceed with their claims under the Workers’ Compensation Program in the appropriate judicial

or administrative forum and the Debtors are authorized, but not directed, to continue the Workers’

Compensation Program in the ordinary course. This modification of the automatic stay pertains

solely to claims under the Workers’ Compensation Program.

       7.      The Debtors are authorized, but not directed, to forward any unpaid amounts on

account of Deductions or Payroll Taxes to the appropriate third-party recipients or taxing

authorities in accordance with the Debtors’ prepetition policies and practices.

       8.      The Debtors are authorized, but not directed, to pay costs and expenses incidental

to payment of the Employee Compensation and Benefits obligations, including all administrative

and processing costs and payments to outside professionals.

       9.      Nothing herein shall be deemed to authorize the payment of any amounts which

violates or implicates section 503(c) of the Bankruptcy Code; provided that nothing herein shall

prejudice the Debtors’ ability to seek approval of relief pursuant to section 503(c) of the

Bankruptcy Code at a later time.

       10.     Notwithstanding the relief granted in this Interim Order and any actions taken

pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

validity, priority, or amount of any particular claim against a Debtor entity; (b) a waiver of the

Debtors’ or any other party-in-interest’s right to dispute any particular claim on any grounds; (c) a

promise or requirement to pay any particular claim; (d) an implication or admission that any
                                                      4

DOCS_DE:244438.4 70786/001
                Case 23-11240-TMH        Doc 18-1     Filed 08/29/23     Page 6 of 7




particular claim is of a type specified or defined in this Interim Order or the Motion; (e) a request

or authorization to assume any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (f) a waiver or limitation of the Debtors’ or any other party-in-interest’s rights

under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors or any

other party-in-interest that any liens (contractual, common law, statutory, or otherwise) satisfied

pursuant to this Interim Order are valid and the Debtors and all other parties-in-interest expressly

reserve their rights to contest the extent, validity, or perfection or to seek avoidance of all such

liens. Any payment made pursuant to this Interim Order should not be construed as an admission

as to the validity, priority, or amount of any particular claim or a waiver of the Debtors’ or any

other party-in-interest’s rights to subsequently dispute such claim.

       11.       The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

to receive, process, honor, and pay all such checks and electronic payment requests when presented

for payment, and all such banks and financial institutions are authorized to rely on the Debtors’

designation of any particular check or electronic payment request as approved by this Interim

Order without any duty of further inquiry and without liability for following the Debtors’

instructions.

       12.       The Debtors are authorized to issue postpetition checks, or to effect postpetition

fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored

as a consequence of these chapter 11 cases with respect to prepetition amounts owed in connection

with any Employee Compensation and Benefits Programs.

       13.       The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).




                                                 5

DOCS_DE:244438.4 70786/001
              Case 23-11240-TMH         Doc 18-1     Filed 08/29/23     Page 7 of 7




       14.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       15.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.

       16.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

       17.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.




                                                 6

DOCS_DE:244438.4 70786/001
